     Case 3:22-cv-01002-JAG-HRV         Document 163      Filed 03/09/25    Page 1 of 2



                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


        ELVIS RAMON GREEN BERRIOS
                 Plaintiff                      CIVIL NO. 3:22-CV-01002-JAG
                   vs.
                                                 CIVIL JURY DEMANDED
               SIG SAUER, INC
                  Defendant




                    MOTION TO WITHDRAW MOTION FILED AT DKT 158
TO THE HONORABLE COURT:

       COMES NOW, the Plaintiff to this action, through its undersigned attorney and

respectfully states, and prays as follows:

          1. On 03/04/2025, Plaintiff filed a Motion for Voluntary Dismissal (DKT. 158)

pursuant to Fed. Rule Civ.P 41.

          2. Due to an inadvertent mistake, Plaintiff hereby requests the Withdrawal of the

Motion for Voluntary Dismissal at DKT 158, to be stricken or eliminated from the record, so that

it can be replaced with the corrected subsequent motion filed at DKT 162.

             WHEREFORE, Plaintiff respectfully requests that the Court grants this

  Motion, and Plaintiff’s Motion at DKT 158 be withdrawn/eliminated from the docket and

  replaced with the filing at DKT. 162.

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the parties
of record.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 9th day of March of 2025.



   Attorneys for Plaintiff:
   /S/ José Vladimir Díaz-Tejera                  /S/ Jorge Cancio-Valdivia

   José Vladimir Díaz-Tejera                      Jorge Cancio-Valdivia
   USDC-PR 208604                                 USDC-PR 302401
 Case 3:22-cv-01002-JAG-HRV        Document 163   Filed 03/09/25    Page 2 of 2


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